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                             14                                UNITED STATES BANKRUPTCY COURT
      767 Fifth Avenue




                             15                                NORTHERN DISTRICT OF CALIFORNIA
                                                                      SAN FRANCISCO DIVISION
                             16

                             17                                               Bankruptcy Case No. 19-30088 (DM)
                             18     In re:                                    Chapter 11 (Lead Case) (Jointly Administered)
                             19     PG&E CORPORATION,                         NOTICE OF CONTINUED HEARING ON
                                                                              APPLICATION PURSUANT TO 11 U.S.C. §§ 327
                             20              - and -                          AND 328 FOR AN ORDER AUTHORIZING
                             21     PACIFIC GAS AND ELECTRIC                  EMPLOYMENT AND RETENTION OF
                                    COMPANY,                                  DELOITTE & TOUCHE LLP AS
                             22                                               INDEPENDENT AUDITOR AND ADVISOR TO
                                                                   Debtors.   THE DEBTORS NUNC PRO TUNC TO THE
                             23                                               PETITION DATE
                                     Affects PG&E Corporation                [Related to Dkt No. 2197]
                             24      Affects Pacific Gas and Electric
                                    Company                                   Date: July 9, 2019
                             25      Affects both Debtors                    Time: 9:30 a.m. (Pacific Time)
                                                                              Place: United States Bankruptcy Court
                             26     * All papers shall be filed in the Lead          Courtroom 17, 16th Floor
                                    Case, No. 19-30088 (DM).                         San Francisco, CA 94102
                             27
                                                                              Objection Deadline: July 2, 2019
                             28                                                                   4:00 p.m. (Pacific Time)


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 1           PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation and Pacific Gas and Electric Company, as debtors and debtors in possession (the
 2   “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), each filed a voluntary
     petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
 3   with the United States Bankruptcy Court for the Northern District of California (San Francisco
     Division) (the “Bankruptcy Court”).
 4

 5           PLEASE TAKE FURTHER NOTICE that on May 22, 2019, the Debtors filed the
     Application Pursuant to 11 U.S.C. §§ 327 and 328 for an Order Authorizing Employment and
 6   Retention of Deloitte & Touche LLP as Independent Auditor and Advisor to the Debtors Nunc Pro
     Tunc to the Petition Date [Dkt. No. 2197] (the “Application”). Concurrently with the Application,
 7   the Debtors filed a notice of hearing [Dkt No. 2199], which stated that: (1) any oppositions or
     responses to the Application must be in writing, filed with the Bankruptcy Court, and served on the
 8
     counsel for the Debtors at the above-referenced addresses so as to be received by no later than
 9   4:00 p.m. (Pacific Time) on June 5, 2019; (2) all oppositions and responses must be filed and served
     pursuant to the Second Amended Order Implementing Certain Notice and Case Management
10   Procedures entered on May 14, 2019 [Dkt No. 1996] (“Case Management Order”); and (3) any
     oppositions or responses must be served on all “Standard Parties” as defined in paragraph 5 of the
11   Case Management Order. On June 6, 2019, the Bankruptcy Court rescheduled the hearing on the
     Application to the omnibus hearing scheduled for June 11, 2019 at 9:30 a.m. (Pacific Time). On
12
     June 7, 2019, the Debtors filed a notice continuing the hearing on the Application to the omnibus
13   hearing scheduled for June 26, 2019 [Dkt No. 2456].

14          PLEASE TAKE FURTHER NOTICE that the hearing on the Application will be
     continued from its current hearing date of June 26, 2019, to the omnibus hearing on July 9, 2019, at
15   9:30 a.m. (Pacific Time) in the courtroom of the Honorable Dennis Montali, United States
16   Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden Gate Avenue, San Francisco, California
     94102. The deadline for parties to file responses or oppositions to the Application is extended to
17   4:00 p.m. (Pacific Time) on July 2, 2019. All oppositions and responses must be filed and served
     pursuant to the Case Management Order.
18
             PLEASE TAKE FURTHER NOTICE that copies of the Application and its supporting
19   papers can be viewed and/or obtained: (i) by accessing the Court’s website at
20   http://www.canb.uscourts.gov, (ii) by contacting the Office of the Clerk of the Court at 450 Golden
     Gate Avenue, San Francisco, CA 94102, or (iii) from the Debtors’ notice and claims agent, Prime
21   Clerk LLC , at https://restructuring.primeclerk.com/pge or by calling (844) 339-4217 (toll free) for
     U.S.-based parties; or +1 (929) 333-8977 for International parties or by e-mail at:
22   pgeinfo@primeclerk.com. Note that a PACER password is needed to access documents on the
     Bankruptcy Court’s website.
23
     Dated: June 12, 2019                    WEIL, GOTSHAL & MANGES LLP
24                                           KELLER & BENVENUTTI LLP
25                                            /s/ Thomas B. Rupp
                                              Thomas B. Rupp
26
                                              Attorneys for Debtors and Debtors in Possession
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